               Case 2:20-cr-00151-RAJ Document 146 Filed 09/27/22 Page 1 of 33




  1                                                                     The Honorable Richard A. Jones
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 7                               UNITED STATES DISTRICT COIIRT FOR THE
                                   WESTERN DISTRICT OF WASHINGTON
 8
                                             AT SEATTLE
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10
        UNITED STATES OF AMERICA,                                NO. CR2O-15lRAJ
11
                                     Plaintiff,
                                                                 SUPERSBDING INFORMATION
t2
13
                               v.
1,4
        HADIS NUHANOVIC,
15
                                     Defendant.
t6
l7             The United States Attorney charges that:

18                                                       INTRODUCTION
t9             1.        Amazon.com, Inc. is a Seattle-based company that operates the Amazon

20    Marketplace, one of world's largest online marketplaces. The Amazon Marketplace is an

2t    electronic commerce (or "e-commerce") digital platform, on which consumers can

22    purchase goods, multimedia, and services, from online merchants. The merchants who

Z3    make sales on the Amazon Marketplace include Amazon itself and             "third-pafi" or "3P"
24    sellers, the latter of which are non-Amazon individuals and entities.

25             2.        Since at least 2017, the Defendants (that is, HADIS NUHANOVIC and the

26    other defendants named in the Indictment in this case), and others known and unknown to

2l    the Grand Jury, have conspired to pay, and have paid, over S150,000 in commercial

28    bribes to complicit Amazon employees and contractors (collectively referred to herein as
       Superseding Information - I                                             UNITED STATES ATTORNEY
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 I   "Amazorr insiders"). In exchange for bribes, and the promise of such bribes, the Amazon
 2   insiders baselessly and fraudulently conferred tens of millions of dollars of competitive
 J   benefits upon hundreds of 3P seller accounts that the Defendants purported to represent
 4   in their capacity as prominent'oconsultants" to 3P sellers. Through this scheme, the
 5   Defendants intended to cause harm to Amazon, and to 3P sellers and consumers on the
 6   Amazon Marketplace, including by depriving Amazon of the exclusive use and
 7   confidentiality of its internal business information, interfering with Amazon's ability to
 8   ensure the safety and authenticity of goods sold on the AmazonMarketplace, and
 9   impairing consumers' access to accurate, reliable information about merchants and
10   products on the Arnazot Marketplace.
11            3.        The Defendants are members of an interdependent community of 3P
I2 sellers, consultants to 3P sellers, and Arnazon insiders who have       accessed and coopted,

13   without authorization and for private financial gain, the computer systems, processes, and
t4 information that regulate day-to-day operations of the Amazon Marketplace. Through
15   the use of bribes, and the promise of bribes, the Defendants, and Amazon insiders,
t6 engaged in the following conduct, among other conduct:
t7                      a.      Stealing Amazon confidential business information: Defendants,
18   and other 3P sellers and consultants, bribed Amazon insiders to send them confidential
t9 information that the insiders misappropriated from Amazon's protected networks,
20   including    a   trove of internal standard operating procedures (SOPs) and Wikis. The stolen
2t   files included, among other things, the formulae for the algorithms that power the
22   Arnazon Marketplace search engine, Amazon's product-review rankings, and the coveted
23   "buy boxes" that list default sellers on particular product listings; the criteria that
24   Amazon considers when determining whether to suspend or reinstate accounts or product
25   listings; Amazon's internal notes (or "annotations") about hundreds of 3P accounts; and
26   thousands of consumers' and employees' identities and contact information. The
27   Defendants, and other 3P sellers and consultants, derived substantial commercial benefits
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 1   from the misappropriated information, including by sharing it within their professional
 2   networks.
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 J                     b.       Reinstating suspended 3P accounts and products: Defendants,
 4   and other 3P sellers and consultants, bribed Amazon insiders to reinstate merchant

 5   accounts and product listings that Amazon had suspended in response to customer-safety
 6   concerns, counterfeiting complaints from intellectual-properfy holders, the merchants'
 7   manipulation of product reviews, and other violations of Amazon's policies and codes of
 8   conduct. Since their baseless and fraudulent reinstatement, the previously suspended
 9   merchant and product listings have generated over $100 million dollars in total revenue
10   from sales on the AmazonMarketplace.
11                     c.       Circumventing Amazon restrictions on 3P accounts: Defendant's
t2 Co-defendants, and other 3P sellers and consultants, bribed Arnazon insiders to
13   circumvent and/or waive Amazon-imposed limitations and fees relating to the amount                      of
t4 inventory, including hazmat inventory, oversized inventory, and long-term inventory, that
15   3P sellers may store at Arnazon's warehouses and fulfillment centers. The Amazon
16   insiders also helped 3P sellers and consultants defraud Amazon into approving the 3P
t7 sellers' requests to sell restricted products, such     as dietary supplements, also referred        to
18   as   "ungating," on the basis of fraudulent and forged supplier invoices.
t9                     d.       Facilitating attacks against 3P sellers and product listings:
20   Defendants, and other 3P sellers and consultants, bribed Arnazon insiders to attack other
2t 3P sellers     and those sellers' product listings, in order to gain an unfair competitive

22   advantage over those victims and to settle other scores. To facilitate these attacks,
23   Amazon insiders shared competitive intelligence about the victim sellers' businesses,
24   products, and advertising strategies, with 3P sellers and their consultants; used their
25   inside access to Amazon's network to suspend the victim sellers' accounts and product
26   listings; and helped consultants flood the victims' product listings with content and
27   fraudulent customer reviews designed to hurt sales.
28
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 1           These attacks included self-styled "takedowns" against victim 3P sellers, through
 2   which the Defendant's Co-defendants, and other 3P sellers and consultants, adulterated
 a
 J   victims' product listings with replacement, and in some cases lewd and offensive, content
 4   and images, designed to drive away consumers and intimidate the victims. Examples                                                   of
 5   such adulterated product listings are set forth below:
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13   The intended and actual impact of such adulteration attacks was to effectively
t4 incapacitate the 3P accounts.
15   A.       THE AMAZON MARKETPLACE
t6            4.       The Arnazon Marketplace consists of geographically defined online
t7 marketplaces, including              a       United States-based marketplace and a United Kingdom-based
18   marketplace. Online consumers can browse millions of product listings on the Arnazon
T9   Marketplace, place items in virtual shopping carts, complete purchases using credit cards
20   and/or other forms of digital payment, iurange for products to be delivered to addresses
2t that they designate, and return products to Amazon in exchange for a refund. Amazon
22   provides consumers with a centralized search engine, categorized hyperlinks, online
23   directories, and other digital tools, in order to navigate the Amazon Marketplace. Using a
24   standardized format and organi zation, every product listing sets forth the relevant
25   product's attributes, appearance, price, customer reviews, and an Amazon Standard
26   Identification Number ("ASfN"), an alphanumeric identifier assigned to each product.
27            5.       Merchants on the AmazonMarketplace consist of Amazon, as well as 3P
28   sellers. 3P sellers pay Amazon fees in connection with making sales on the Amazon
      Superseding Information - 5                                                                               T]NITED STATES ATTORNEY
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 1   Marketplace. To facilitate 3P sellers' operations, Amazon offers 3P sellers            a range    of
 2   additional fee-based services, including the "Fulfillment by Amazon" (or "FBA") service,
 a
 J   through which Amazon stores inventory for 3P sellers, alranges for that inventory to be
 4   shipped to purchasers, and handles customer-service inquiries and retums. Amazon also
 5   assigns employees at its offices around the world to one or more "Seller Support" teams,
 6   which assist 3P sellers.
 7            6.       When registering an account with Amazon, 3P sellers provide ,\rnazon
 8   with identi&ing information, which may include an email address, a form of
 9   identification that can be used to veriff identity, a credit card, and a financial account to
10   which Amazon can transmit sales proceeds. Products sold by 3P sellers may consist of
l1   (a) products that they acquire elsewhere and resell, in potential competition with other 3P

t2 sellers who      engage in the sale of the same products; and (b) products that they sell under

t3   a   registered "brand," in connection with a variety of brand-protection programs and
t4 services that Amazon may offer.
15            7.       Arnazonrestricts the sale of certain categories of products, by requiring 3P
t6 sellers to obtain Amazon's approval before selling these items. Examples of restricted
t7 products include copyrighted multimedia, dietary supplements, over-the-counter
18   medicines, and medical products. 3P sellers that seek to sell products in restricted
t9 product categories typically provide Amazon with invoices showing that they purchased
20   these items from a bona fide supplier, in order to establish that the products they intend to
2t sell are authentic,      and that they are not engaging in retail arbitrage.
22            8.       Amazon requires 3P sellers to agree to selling policies and codes of conduct
23   as a   condition to make sales on the Amazon Marketplace. Amazon's selling policies and
24   codes of conduct prohibit 3P sellers from providing inaccurate information to consumers,
25   manipulating product reviews, otherwise contacting consumers independently                 of
26   Amazon, and attacking other 3P sellers and those sellers' product listings. In practice, a
27   wide range of 3P seller conduct may violate these policies and codes of conduct,
28   including: (a) the sale of unsafe products; (b) the sale of used or refurbished products that
      Superseding Information - 6                                             UNITED STATES ATTORNEY
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 I   are marketed as        "new"; (c) the sale of counterfeit products; (d) 3P sellers' infringement of
 2   intellectual-properfy rights in product listings, product packaging, and products; and (e)
 a
 J   3P sellers' manipulation of product reviews, including by posing falsely as product
 4   purchasers, and offering gifts to consumers in exchange for their agreement favorably to

 5   post or revise product reviews.
 6            9.        Amazon also maintains, including on computers and servers located in the
 7   Western District of Washington, a wide array of information about 3P sellers and their
 8   products, including price and sales history, product-review history, the rate at which
 9   customers retum 3P sellers' products and the reasons that consumers provide for such
10   returns, 3P sellers' timeliness in delivering products to customers and refreshing their
11   inventory of products that Amazon stores at its warehouses, and identiffing information
t2 regarding customers. 3P sellers have            access to some information about their own 3P

T3   accounts and products, including product-specific data regarding their revenues over
t4 time. Amazon does not, however, provide 3P sellers with              access to non-public merchant-
15   specific and/or product-specific information about other 3P sellers; nor does it provide 3P
t6 sellers with the contact information for customers who review their products.
t7            10.       Amazon uses algorithms to control the operation of various aspects of the
18   AmazonMarketplace, including, in particular, the AmazonMarketplace's central search
t9 engine, the prominence of merchants and product reviews in product listings, limits on 3P
20   sellers' ability to store different types of inventory in Amazon's warehouses, and the
2l potential suspension of 3P accounts            or their product listings. For instance, Amazon's
22   central search engine may rank product listings in response to customer queries, in part
z)   by reference to o'keywords" that 3P sellers use to designate their product listings. The
24   "buy box" on a product listing may provide consumers with a default seller who has a
25   long history of positive customer reviews and timely product deliveries. In addition, the
26   most prominent product review shown on a product listing may be one that is recent,
27   lengthy, and voted "helpful" by other consumers. Amazon takes reasonable measures to
28   maintain the confidentiality of information about the algorithms and other systems that
      Superseding Information - 7                                              UNITED STATES ATTORNEY
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 1   control the Amazon Marketplace, including by restricting access to this information and
 2   by marking it confidential, and such information derives independent economic value
 J   from its secrecy.
 4            1   1.     Arnazon uses "suspensions" to regulate 3P sellers and products on the
 5   AmazonMarketplace. Various teams within Amazon, and the employees and contractors
 6   that compose those teams, have the authority to suspend 3P sellers and products for
 7   reasons that can include product safety, intellectual-properfy violations, the sale                   of
 8   restricted products without first obtaining Arnazon's preapproval through the use of a
 9   legitimate supplier invoice, improper contact with consumers, and review manipulation.
10   Suspensions may be temporary, e.g., in order to provide Amazontime to inspect a
11   product that consumers have identified as unsafe. Suspensions may also be conditional
t2 upon the relevant 3P seller supplying a ooplan of action" to Amazon that adequately
13   explains the cause of the conduct that gave rise to the suspension and satisfactory
t4 remedial measures. In certain                cases, suspensions may be    permanent. Amazon provides
15   3P sellers the option to appeal from (or o'escalate") adverse suspension decisions.
t6            12.       Amazon's computer network includes tools that enable authorized
t7 employees and contractors to suspend 3P sellers and products, receive                    and review "plans

18   of action" from suspended 3P sellers, and to revive (or "reinstate") suspended 3P sellers
t9   and product       listings. Amazon requires employees and contractors with access privileges
20   to these tools only to use those privileges in furtherance of their job responsibilities, and
2l prohibits them from using those               access privileges   in furtherance of any private,
22   pecuniary, objective. Amazon funher requires employees and contractors not to provide
23   outsiders with access to the tools that they use in connection with the regulation of 3P
24   sellers and products on the AmazonMarketplace. Amazon also provides SOPs, Wikis,
25   and other written guidance, to its employees and contractors in connection with their
26   regulation of the Amazon Marketplace. Amazon takes reasonable measures to maintain
27   the confidentiality of these SOPs, Wikis, and other written guidance, including by
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      Superseding Information - 8                                                    TJNITED STATES ATTORNEY
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 1   restricting access to this information and by marking it confidential, and such information
 2   derives independent economic value from its secrecy.
 a
 J              13.     Amazon keeps a record of each 3P seller's suspension and reinstatement
 4   activity (and other related information about the merchant's account and product listings)
 5   in   a   running log of annotations, referred to herein as an "annotation history." Annotation
 6   histories may reflect confidential complaints from other 3P sellers andlor customers,
 7   details of Amazon's internal investigation regarding the relevant 3P account, a record                        of
 8   account or product suspensions, and a record ofaccount or product reinstatements.
 9   Amazon does not make annotation histories available to 3P sellers, and otherwise
10   restricts access to those annotation histories to the employees and contractors whose roles
11   and responsibilities include the regulation of              the AmazonMarketplace.
t2              14.    The Amazon employees, contractors, and computers that play arole in the
t3 processes described in this section are located in the Western District of Washington and
t4 elsewhere.
15   B.         TIIE DEFENDANTS
t6              15.    Ephraim Rosenberg ("Rosenberg"), also known as ("aka") "Ed Rosenberg,"
t7 is a resident of Brooklyn, New York,                   and the owner of Effyzaz. Inc.   ("Efffzz"),      a   New
18   York company. Rosenberg has purported to provide fee-based consulting expertise to 3P
t9 sellers, including through a service named "Amazon Sellers Group TG" ("ASGTG"). In
20   addition to providing individualized consulting to 3P sellers, Rosenberg has hosted an
2l   annual 3P seller conference in Brooklyn, has provided informational digital videos about
22   3P sales through an account on the video-sharing website www.youtube.com, and has
23   hosted interactive 3P consulting webinars.
24              16.    Joseph Nilsen             ("Nilsen") is a resident of New York, New York, and is the
25   founder and Chief Executive Officer ("CEO") of Digital Checkmate, Inc. ("Digital
26   Checkmate"), a New York company. Nilsen has purported to provide fee-based
27   consulting expertise to 3P sellers, including by advising 3P sellers regarding their online
28   product offerings on the Arnazan Marketplace, providing competitive intelligence to 3P
      Superseding Information - 9                                                    UNITED STATES ATTORNEY
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 1   sellers, devising marketing campaigns for 3P sellers, and assisting and/or representing 3P
 2   sellers in connection with the suspension of their accounts and product listings. Nilsen
 a
 J   also has made sales on the Amazon Marketplace through numerous 3P accounts in his
 4   name, the names of others, and dozens of aliases that he uses in order to conceal his
 5   identity and his association with the 3P accounts from Amazon.
 6              11.   FIADIS NUHANOVIC ("NUHANOVIC") is a resident of Acworth,
 7   Georgia, and is the owner of Buddibox, LLC ("BuddiboX"), o Georgia company.
 8   NTIHANOVIC operated a 3P account under the name "Buddibox" between in or around
 9   October 2013 and in or around August 2018, when Amazon suspended the account for
10   fraud. After August 2}IS,NUHANOVIC continued to operate 3P accounts under
11   various aliases that he used to conceal his identity and his association with the 3P
t2 accounts from Amazon. NUHANOVIC also has offered fee-based consulting services to
13   other 3P sellers.
t4              18.   Kristen Leccese ("Leccese") is   a   resident of New York, New York, and
15   marketed herself as the Vice President of Digital Checkmate. In conjunction with Nilsen,
16   NUHANOVIC, and others, Leccese assisted in providing consulting services and also has
I1 operated numerous 3P accounts on the Amazon Marketplace.
18              19.   Rohit Kadimisetty ("Kadimisetty") is a resident of Northridge, California.
t9 Between in or around September 2014 and in or around December 2015, Kadimisetly
20   worked as an Amazon Seller Support Associate in Hyderabad, India. After on or about
2t January 2017, Kadimisetly lived in California           and provided consulting services      for 3P
22   sellers.
z3              20.   Nishad Kunju ("Kunju"), aka"Tina" and "Jonathan Li," is a resident              of
24   Hyderabad, India. Until his termination in or around August 2018, Kunju worked as an
25   Amazon Seller Support Associate in Hyderabad, India. In this position, before his
26   termination in or about August 2018, Kunju helped manage the operation of the Amazon
2l   Marketplace, and was granted restricted access to tools and files on the Amazon network
28   relevant to his roles and responsibilities. Such access privileges enabled him to review
      Superseding Information - l0                                       UNITED STATES ATTORNEY
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 1   and download internal Amazon SOPs and Wikis, review and download data regarding 3P
 2   sellers and products, enforce suspensions against 3P sellers and products, and reverse
 a
 J   certain enforcement actions. After his August 2018 termination, Kunju performed fee-
 4   based consulting       for 3P sellers, including through Nilsen, NUHANOVIC, and others
 5   known and unknown.
 6                                                COUNT I
                                                 (Conspiracy)
 7

 8
              21.      The allegations contained in Paragraphs    I through 20 of this Superseding
     Information are re-alleged and incorporated as if fully set forth herein.
 9

10
     A.       THE OFFENSE

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             22.       Beginning at a date unknown, but no later than luJy 2017, and continuing

l2 through September 2020, at Seattle, within          the Western District of Washington, and

     elsewhere, the Defendants, Ephraim Rosenberg, Joseph Nilsen, HADIS NUHANOVIC,
13
     Kristen Leccese, Rohit Kadimisetty, and Nishad Kunju, and others known and unknown,
T4
     did knowingly and intentionally combine, conspire, confederate, and agree together to
15
     commit offenses against the United States, to wit:
t6
ll                     a.       to use a facility in interstate and foreign commerce, namely, the
     wires, with the intent to promote, manage, establish, carry on and facilitate the
18
     promotion, management, establishment, and carrying on of an unlawful activity, that is,
t9
     Commercial Bribery, in violation of New York Penal Code Section 180.03, and California
20
     Penal Code $ 641.3,      in violation of Title 18, United States Code, Section 1952(a)(3)(A).
2T

22
     B.      OBJECTS OF THE CONSPIRACY

23
             23.       It was an objective of the conspiracy to provide 3P sellers with an
     illegitimate competitive advantage on the Amazon Marketplace, and to benefit those 3P
24
     sellers' financially, by gaining unauthorized access to the systems, processes, and
25
     information that regulate the Amazon Marketplace, and using that access baselessly and
26
     fraudulently to benefit certain 3P accounts and product listings and to harm other 3P
27
     accounts and product listings.
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      Superseding Information - 11                                            UMTED STATES ATTORNEY
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  1            24.       It was an objective of the conspiracy to enhance the marketability and
 2    financial success of consulting operations to 3P sellers that relied on recruiting Amazon
 a
 J    insiders, providing bribes and promises of bribes to those insiders, and obtaining benefits
 4    from those insiders in exchange for bribes and the promise of bribes.
 5             25.      It was an objective of the conspiracy to conceal, protect, and perpetuate the
 6    commercial success of 3P sellers and consultants who relied on commercial bribery and
 7    unauthorized access to Amazon's protected computer network.
 8    C.       MANNER AND MEAIIS OF THE CONSPIRACY
 9             26.      The manner and means used to accomplish the conspiracy included the
10    following:
1l                      a.       It was part of the conspiracy that the Defendants, and others known
t2    and unknown to the Grand Jury, collaborated to provide fee-based consulting services to

13    3P sellers.
t4                      b.       It was part of the conspiracy that the Defendants, and others known
15    and unknown, recruited Amazon employees and contractors to accept                bribes. It was
t6 fuither part of the conspiracy that such recruitment relied on information that other
t7    Amazon insiders misappropriated from Amazon's protected computer network regarding
18    employees' and contractors' identities, roles, and contact information. It was further pafi
t9 of the conspiracy that such recruitment targeted employees and contractors with roles,
20    responsibilities, knowledge, and access privileges that would be commercially valuable to
2t the consultants and the consultants' 3P clients, including         access to computer systems,
22    tools, processes, and information on Amazon's protected computer network that could
23    help secure an unfair competitive advantage over other 3P sellers.
24                      c.       It was part of the conspiracy that, in exchange for bribes and the
25    promise of bribes, Arnazon insiders provided the Defendants, and others known and
26    unknown, with unauthorized access to Amazon protected computers and Amazon files,
27    systems, servers, and computer networks, all of which were used in and affecting
28    interstate or foreign commerce or cofirmunication.
       Superseding Information - 12                                            UNITED STATES ATTORNEY
       United States v. Nilsen, CR20- I 5 IRAJ                                700   Srrwanr SrREEr, SurrE 5220
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 I                     d.       It was part of the conspiracy that the Defendants employed avariety
 2   of methods designed to conceal their communications, identity, and participation in the
 a
 J   scheme. Such techniques included, but were not limited to, (i) using encrypted
 4   messaging platforms, such as WhatsApp, WeChat, Signal, and Telegram; (ii) creating
 5   email and other accounts, using aliases, for limited use between compartmentalized
 6   participants in the scheme; (iii) using shared cloud-based documents and file storage
 7   services; and (iv) communicating through draft and unsent email messages to avoid the
 8   transmission of emails that could be traced by law-enforcement agents.
 9                     e.       It was part of the conspiracy that, without Amazon's knowledge or
10   consent, the Defendants, and others known and unknown, paid, and offered to pay, bribes
11   to Amazon employees for the purpose of influencing their conduct in relation to their
t2 employment, specifically, in order to benefit 3P accounts operated by the members of the
13   conspiracy and their clients, and to cause harm to Amazon.
t4                     f.       It was part of the conspiracy that the Defendants, and others known
15   and unknown, transmitted, routed, and received bribes using various means, including but

t6 not limited to bulk        cash transfers, personal and cashier's checks, standard bank wires,

t7 payment processing services like Payoneer, and online remittance            and transfer services,

18   such as PayPal, Remitly, Xoom, Transfast, and MoneyGram.
t9                     g.       It was part of the conspiracy that the Defendants, and others known
20   and unknown, used aliases, apparently unrelated intermediaries, and false and fraudulent

21   identifiers and information in order to conceal the transmission, routing, and receipt of
22   bribes. Such concealment included, but was not limited to, Rosenberg's use of               a PayPal

23   account registered under the name "Tom Landry," NUHANOVIC's use of a PayPal
24   account under the name "Yirrata," registered under his wife's name, and the Amazon
25   insiders' use of Remitly, MoneyGram, and bank accounts registered under the names of
26   their associates and family members.
27                     h.       It was part of the conspiracy that, in exchange for bribes and the
28   promise of bribes, Amazon insiders provided the Defendant's Co-defendants, and others
      Superseding Information - 13                                            UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, Sr,IrE 5220
      United States v. Nilsen, CR20- I 5 lRAJ
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     1   known and unknown, with access devices, including the insiders' credentials and network
 2       access privileges, which could be and were indeed used to gain unauthorized access to

 J       Amazon protected computers.
 4                                  i.       It was part of the conspiracy that the Defendants marketed to 3P
 5       sellers and other consultants their access to Amazon insiders.
 6                                  j.       It was part of the conspiracy that the Defendants referred 3P sellers
 7       to each other, to other consultants, to other 3P sellers, and to Amazon insiders, such that
 8       the Defendants were mutually interdependent upon each other for continued commercial
 9       success.

10                                  k.      It was part of the conspiracy that, in exchange for bribes and the
11       promise of bribes, Amazon insiders provided consultants and 3P sellers, including the
t2 Defendants, with confidential information taken from Amazon's protected computers.
13       The information obtained through these acts of misappropriation included, but was not
t4 limited to:
15                                          i.           SOPs, Wikis, and information regarding Amazon's intemal
t6 algorithms, systems,                      and teams;

l7                                          ii.          client 3P account information, including arutotations,
18       performance reports, and pending enforcement actions;
t9                                          iii.         competitor 3P account information, including the identity and
20       personal identifiers of account owners and operators, performance data, and disciplinary
2l history;
22                                          iv.          customer information, including identifying and contact
Z)       information for consumers/buyers and restricted data regarding customer reviews and
24       complaints on particular 3P accounts;
25                                          v.           employee information, including contact information and
26       organizational charts for particular groups or teams within Arnazon;
27                                          vi.          enforcement actions and other measures taken by Amazon to
28       regulate and remediate the AmazonMarketplace; and,
          Superseding Information - 14                                                          LTNITED STATES ATTORNEY
          U nite   d States   v.   Nilsen, CR20-   I5I   RAJ                                   700 SrEwARr SrREEr, SurE 5220
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 1                                vii.             suppliers, inventory, sales prices, revenues, profit margins,
 2   advertising reports, and other records and information about particular goods and product
 a
 J   listings on the Amazon Marketplace, including copies of legitimate invoices from bona
 4   fide suppliers submitted by other 3P sellers in relation to restricted categories.
 5                  l. It was part of the conspiracy that, in exchange for bribes and the
 6   promise of bribes, Amazon insiders agreed to facilitate the baseless and fraudulent
 l   reinstatement of 3P seller accounts and product listings, including by:
 8                                i.               On behalf of Defendant's Co-defendants, sending one or
 9   more commands through Amazon's internal computer network (in a process the
10   conspirators called "flick[ing] the switch"), which resulted in the reinstatement of 3P
11   accounts and product listings, and enabled those 3P accounts and product listings
t2 immediately to resume                sales on         the AmazonMarketplace.
13                                ii.              Entering false and fraudulent notes and annotations in
t4 Amazon's internal computer network, which caused other Amazon employees and
15   contractors to conclude that reinstatement was required under Amazon's policies.
t6                                iii.             Assigning affected 3P sellers' plans of action to themselves
t7 by instructing the 3P sellers                    and their representatives to submit plans   of action to Amazon
18   at a date and time when an Amazon insider could log into Amazon's computer network
t9 and self-assign the project to themselves before any other employee or contractor could
20   do so. Following such self-assignment, Amazon insiders approved the otherwise
2I fraudulent or inadequate plans of action. If their                    access privileges did not permit them to

22   approve the plans of action, the Amazon insiders held such plans of action in abeyance in
Z)   an effort to identify other Amazon insiders who were willing to approve the plans                             of
24   action.
25                                iv.              Drafting fraudulent plans of action for 3P sellers, which used
26   materially false statements, representations, and omissions, to induce Amazon to reinstate
27   the affected 3P seller accounts and product listings, including by asserting falsely that the
28   3P sellers lacked any knowledge or control of the conduct that had given rise to the
      Superseding Information - 15                                                         LTNITED STATES ATTORNEY
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 1   underlying suspension andlor that one or more employees or contractors of the 3P sellers
 2   had committed that conduct without appropriate authority.
 a
 J                     m.        It was part of the conspiracy that the Defendants, and others known
 4   and unknown, used bribes, the promise of bribes, misappropriated information from

 5   Amazon's protected computer network, and materially false statements, representations,
 6   and omissions, to manipulate the reviews that appeared on product listings on the
 7   AmazonMarketplace. These acts of review manipulation included:
 8                              i.        Amazon insiders' transmission of commands, on behalf        of
 9   Defendant's Co-defendants, to Amazon's protected computer network, which resulted in
10   the deletion of negative product reviews from product listings.
11                              ii.       Using misappropriated information from Amazon's protected
I2 computer network regarding consumers' contact information, in order to induce or
13   intimidate consumers to revise or remove negative product reviews.
I4                              iii.      Using misappropriated information from Amazon's protected
15   computer network about the operation of Amazon's review-ranking algorithm to engineer
t6 reviews to appear legitimate, when in truth and in fact, they were not legitimate. For
t7 instance, the Defendants, and others known            and unknown, attempted to   trick Amazon's
18   review-ranking algorithm into believing that fraudulent product reviews had been posted
t9 by bonafide purchasers, including by "aging" buyer accounts through a pattem of
20   fictitious product purchases of an extended duration of time, buying products and
2t   directing Amazon to sell them to random residential addresses in an effort to make it look
22   like   a real purchase had occurred, using other buyer accounts to rate     fictitious reviews as
23   "helpful," and concealing their control over the accounts through the use of digital tools
24   like virtual private networks and virtual machines. Through this process, the Defendants,
25   and others known and unknown, caused fictitious positive reviews to appear frequently
26   and prominently in beneficiary 3P sellers' products listings and caused         fictitious negative
27   product reviews to appear frequently and prominently in victim 3P sellers' product
28   listings.
      Superseding Information - 16                                           TJNITED STATES ATTORNEY
      United States v. Nilsen, CR20- I 5 IRAJ                               700 SrEwARr SrREEr, SLIrE 5220
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 1                               iv.                 Using misappropriated information from Amazon's protected
 2   computer network, including Amazon's SOPs, to take action designed to induce Amazon
 a
 J   into concluding falsely that victim 3P seller accounts had violated Amazon's prohibition
 4   against review manipulation, resulting in the baseless and fraudulent suspension of those
 5   victim 3P sellers. More specifically, the Defendants, and others known and unknown,
 6   used digital tools fraudulently to make it appear as                 if   accounts controlled by digital
 7   devices operating from victim 3P sellers' offices had posted exceedingly positive product
 8   reviews on those victim 3P sellers' product listings.
 9                     n.        It was part of the conspiracy that the Defendants, and others known
10   and unknown, used bribes, the promise of bribes, misappropriated information from

11   Amazon's protected computer network, and materially false statements, representations,
I2 and omissions, to attack 3P seller accounts and their product listings, to gain                         a

13   competitive advantage and to settle scores.
t4                     o.        It was part of the conspiracy, in exchange for bribes and the promise
15   of bribes, Amazon insiders misappropriated legitimate supplier invoices that 3P sellers
16   submitted to Amazon in firrtherance with successful requests to sell restricted product
t7 categories on the Amazon Marketplace. It was further part of the conspiracy that, after
18   obtaining these misappropriated legitimate supplier invoices, the Defendants, and others
t9 known and unknown to the Grand Jury, altered the invoices to make it appear as if                                3P

20   seller accounts that they owned and controlled, and that their clients owned and
2t controlled, were the counterparties to the sales reflected in those invoices. It was further
22   part of the conspiracy that the Defendants, and others known and unknown to the Grand
Z)   Jury, sent the altered invoices to Amazon in order successfully to defraud Amazon into
24   granting 3P seller accounts approval to make sales in restricted product categories.
25                     p.        It was part of the conspiracy that, in exchange for bribes and the
26   promise of bribes, Amazon insiders, on behalf of Defendant's Co-defendants, effectively
27   eliminated limits on 3P seller accounts' ability to store hazmat inventory, oversized
28   inventory, and long-term inventory in Amazon's warehouses.
      Superseding Information - l7                                                         I]NITED STATES ATTORNEY
      Unite d States v. Nilsen, CR20-                                                     700 SrEwARr SrREEr, SurrE 5220
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 1                      q.       It was part of the conspiracy that, in exchange for bribes and the
 2   promise of bribes, Amazon insiders, on behalf of Defendant's Co-defendants, erased
 a
 J   shipping tracking information from Amazon's computer network, which induced
 4   Amazonfalsely to conclude that it had not retumed certain inventory to 3P sellers, and to
 5   reimburse those sellers for inventory that Amazon falsely believed had been lost in
 6   transit.
 7                     r.        It was part of the conspiracy that Defendants concealed the scheme
 8   and the underlying conduct, including the use of complicit insiders, from being

 9   discovered by Amazon and others.
10                     s.        It was part of the conspiracy that Defendants secured a commercial
11   advantage and private financial gain, both for themselves and for their clients. The value
t2 of the information misappropriated through their           access to protected Amazon networks

t3   far exceeded $5,000 in any one year period.
t4                     t.        It was part of the conspiracy that Defendants caused economic harm
15   to Amazon, to sellers on the AmazonMarketplace, and to consumers who purchased
t6 goods from 3P sellers improperly aided through illicit means described herein. The
t7 economic impact of the             scheme was substantial, estimated in excess   of $100 million.
18   That economic impact consisted of sales earned by products and 3P sellers following
t9 their improper reinstatement, financial harm endured by 3P sellers            as a result    of attacks
20   against them, and costs to Amazon.
2t   D.         OVERT ACTS
22              27.    In furtherance of the conspiracy, and to achieve the objects thereof, the
Z3   Defendants, and others known and unknown to the Grand Jury, did commit, and cause to
24   be committed, the following overt acts, within the Western District of Washington and
25   elsewhere.
26              28.    Dating back to at least 2011, members of the conspiracy collaborated,
21   conspired, and aided and abetted one another, and others, to provide a variety of services
28   to manipulate the AmazonMarketplace and to confer benefits and advantages to certain
      Superseding Information - l8                                             UNITED STATES ATTORNEY
                                                                               7OO STEWART STR.EET, SUITE 5220
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 1   3P accounts, through use of insiders and unauthorized access to protected computers and
 2   the confidential data and information stored thereon. Such conduct involved, but was not
 a
 J   limited to, the following representative acts:
 4                     a.       On or about January 13,2018, Nilsen sent Rosenberg an email
 5   discussing the cost of certain account suspension reinstatements, which included an
 6   amount purportedly for the Amazon insiders plus a surcharge for Rosenberg and Nilsen.

 7   For instance, Nilsen stated: "They want 5.5k for any Jeff B Final Word reinstatement and
 8   I am being honest with you which I hope you respect I think it is fair to tack on                    1k   - so
 9   the reinstatements would be 6.5k. Regarding timeframe, they aren't going to commit to
10   any times. They work very fast, though."
11                    b.        On or about February 5, 2018, Nilsen sent an email to Rosenberg
t2 instructing Rosenberg to submit              a   plan of action seeking reinstatement related to a 3P
13   account at aparticular time, so that one of Nilsen's "guys" at Amazon could assign the
I4 plan of action to himself.
15                    c.        On or about February 6,2018, Nilsen sent Rosenberg an email
T6   stating: "Alright... I wouldn't tell your boy that it's going to be reinstated right away so
t1 he's not disappointed if my guys has a natural delay ... but between me and you, very
18   good chance response         will   come back by      l2:45A." Later the same      date, at approximately

t9   12:50 a.m. ET, Nilsen sent Rosenberg an email stating               "It's done." In a subsequent
20   email, Nilsen stated, "Let me pay the guy first thing tomorrow              -   let it reach him      - and
2t   then run more accounts by him."
22                    d.        On or about February 6,2018, a bank account registered to
23   Rosenberg's company Effyzaz wired $9,730 to a bank account registered to Nilsen's
24   company Digital Checkmate.
25                     e.       On or about February 14,2018, Rosenberg sent Nilsen an email
26   stating that Rosenberg's accumulated tab with Nilsen was "7700 total," which included
21   "1200u for "fruit," a term Rosenberg used to describe annotation histories
28
      Superseding Information - 19                                                    LTNITED STATES ATTORNEY
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 1   misappropriated from Arnazon's network, and additional amounts for other services, such
 2   as the fraudulent increases          inhazmat storage limits for a 3P account.
 a
 J                     f.        On or about February 15,2018, Rosenberg sent Nilsen and Leccese
 4   a suitcase containing approximately $8,000 in cash, through the ride-sharing application

 5   Uber.
 6                     g.        On or about March 5,2018, Rosenberg sent Nilsen an email
 7   requesting the alteration of internal Arnazon records for a 3P account, stating: "is there a
 8   way to have this case deleted 4910461581?" Nilsen responded to Rosenberg by email
 9   affirmatively, stating: "They will make this go away - case w/ associated email will be
10   gone from case         log. 2k confirmed right they are about to handle it."
11                     h.        On or about March 22,2018, Nilsen sent Rosenberg an email stating
l2 that the task of resetting         a 3P account's hazmat storage quotas        "will   be done in 15
13   minutes    - one of the guys with the tool starts at 1 est he'll bang it out as soon as he gets
t4 in."
15                     i.        On or about June 26,2018, Nilsen sent an email to Rosenberg
t6 bearing the subject line "Two-Fer Tuesdays               -   Exclusive Deal for Mr. Ed Rosenberg." In
t7 the email, Nilsen explained that"abunch of friends" were covering for others in a
18   particular Amazon department and would be able to expedite certain suspension
t9 reinstatements. Nilsen described the opportunity                as   follows: "This is like a lightning
20   deal on crack. .       . To be clear, this is Kobe laying it up and Shaque [sic] coming in to
2t crush the backboard. If approved, all cases will be slammed [sic] dunk."
22                     j.       On or about November 2,2018, another consultant, also based in
23   New York, with whom the Defendant's Co-defendants frequently collaborated
24   ("Consultant-1"), sent Nilsen a WhatsApp message requesting the o'customer contact info
25   for 500 ppl that left negative reviews" on         a   particular 3P account listing, noting         'ohe is

26   willing to pay big bucks. You interested in it ?" Consultant-l further shared a link to the
27   3P seller's product listing and explained that the requested confiderrtial Amazon customer
28
      Superseding Information - 20                                                   UNITED STATES ATTORNEY
                                                                                     700 SrEwARr SrREEr, SurE 5220
      United States v. Nilsen, CR20- 1 5 I RAJ
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 1   information would be used by the 3P account operator to attempt to "remove negative
 2   reviews."
 1
 J                       k.        On or about November 14,2018, Consultant-1 sent Nilsen a
 4   WhatsApp message requesting internal Amazoninformation regarding a particular
 5   product listing suspended by Amazon as an "unapproved medical device." In response,
 6   Nilsen sent multiple photographs of a computer monitor displaying internal Amazon files
 7   regarding the particular suspension action.
 8                  Examples of Misappropriation of Internal Files and Information
 9            29.        In furtherance of the course of this conspiracy, members of the conspiracy
10   misappropriated, shared, and disseminated internal confidential and propriety records and
11   information from protected computers on Amazon networks. This misappropriation,
t2 through unauthorized              access to Amazon's protected computers, involved, but was not

13   limited to, the following representative acts:
t4                       a.        On or about February 4,2019, an Amazon insider logged into
15   Amazon's confidential intemal Wiki database under his Amazon username. The insider
r6 downloaded an HTML page from Amazon's confidential intemal Wiki database. The
I7 document, which was marked "Amazon Confidential," described an internal Amazon
18   algorithm and formula to determine how product reviews are placed vis-ir-vis other
t9 product reviews. Later the same                           date, the insider sent an email to Nilsen and        Kunju
20   attaching the misappropriated Wiki page, along with other conf,rdential internal files
2t misappropriated from Amazon' s computer network.
22                       b.        On or about February 4,2019,Nilsen sent an email to a 3P seller for
23   whom the Defendant's Co-defendants provided repeated services ("Client-2") attaching a
24   PDF file containing the misappropriated datathat the Amazon insider had sent to Nilsen
25   and   Kunju earlier that same day. Nilsen's email to Client-2 bore the subject line "Please
26   do not give to the cool kids/made men                        -   they do not deserve this." The stolen Amazon
27   information was contained in an attachment bearing the file name "Soccer Schedule.pdf."
28
      Superseding Information - 21                                                            UNITED STATES ATTORNEY
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                                                                                      o'You are a
 1   Later the same date, Client-2 sent Nilsen a Facebook message, stating:
 2   freaking magician. Will you please coach my kids soccer teart?"
 a
 J                     c.       On or about February 2l,20l9,Ni1sen emailed Rosenberg a
 4   hyperlink to an encrypted PDF containing the misappropriated datathat an Arnazon
 5   insider emailed to Nilsen earlier that day. Rosenberg responded to Nilsen, stating: "wow
 6   - cool" and "how much I owe you?" Nilsen responded,            stating o'they are doing 175 per

 7   ... 350."
 8                     d.       On or about February 21,2019, Rosenberg sent $350 to Nilsen over
 9   the online payment service, PayPal.
10                     e.       On or about February 23,2019, a Remitly account registered to
11   Leccese transferred $2,500 to an India bank account registered to a third-party, which
12   included amounts payable to the Amazon insider. In a WhatsApp chat, Nilsen and
13   Leccese discussed sending funds to a "soldier" through this bank account. Leccese
t4   agreed to execute the transfer.

15                                           Examples of Reinstatements
r6           30.       Client-L: On multiple occasions, members of the conspiracy collaborated
t7 on reinstatements, attacks, and other services for a 3P seller ("Client-1"). For instance, in
18   June 20 1 8, members of the conspiracy obtained the reinstatement of Client- 1 's account,

t9 which had been suspended for review manipulation. This reinstatement involved, but
20   was not limited to, the following representative acts:
2t                     a.       On or about June 6, 2018, an insider sent NUFIANOVIC a
22   WhatsApp message conveying intemal Amazoninformation and documents regarding
23   Amazon's enforcement actions. Later, on or about June 13, }}IS,NUHANOVIC sent
24   $3,700 to that insider through MoneyGram.
25                     b.       On or about June 9, 20l8,Ni1sen sent Kunju a WhatsApp message
26   agreeing to pay Kunju "213" of the fee paid by Client-1 for the reinstatement of its
27   suspended 3P account. The following day, Kunju confirmed that he "pinged someone
28   [about Client-l's reinstatement] bro.. he said he's looking into it."
      Superseding Information - 22                                           UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SL'IrE 5220
      United States v. Nilsen, CR20- I 5 1 RAJ                                 SEATTLE, WASFtrNGTON 98 i O I
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 1                    c.       On or about lurre 12,2018, Client-1 submitted to Amazon a plan                      of
 2   action containing knowingly false and fraudulent representations, which Nilsen, Leccese,
 a
 J   Kunju, and others, prepared on its behalf. Among other things, the plan of action
 4   represented that the 3P account had utilized a "third-party early reviewer program" that
 5   caused the   violation of Arnazon policies.
 6                    d.       On or about J:ur;re25,2018, Kunju sent a WhatsApp message to
 7   Nilsen regarding Client-l, stating: "I'11 get that done today bro ... Today people shud be
 8   online." Later the same date, Arnazon reinstated Client-l's 3P account.
 9           31.      In early December 2018, Amazon suspended Client-1's 3P account again
10   for suspected account manipulation. In December 2018 and January 2019, members of
11   the conspiracy collaborated to obtain the reinstatement of Client- 1 's 3P seller account,
t2 once again using illicit means. Client-l agreed to pay, and did pay, the Defendants a total
t3   of $200,000, in exchange for successful account reinstatement. In order to achieve the
T4   reinstatement, the Defendants accessed and obtained internal information about
15   Amazon's suspension determination regarding Client-l and, using such information,
I6 advised and assisted Client-1 in preparing reinstatement requests (plans of action), which
l7 included materially false statements. Through                     Arnazon insiders, the Defendants tracked

18   and managed the progress of Client-1's appeal. This reinstatement involved, but was not

19   limited to, the following representative acts:
20                    a.       On or about December 9,2018, Kunju sent Nilsen a WhatsApp
2t   message conveying information about Client-1's account, including account annotations,

22   that an insider had misappropriated from Amazon's protected network.
23                    b.        On or about December 10,2018, Nilsen emailedNUHANOVIC a
24   draft plan of action prepared on Client-1's behalf which contained knowingly false
25   statements. Nilsen and NTIHANOVIC further discussed aspects of the plan of action that
26   were'omade      up." Later the same                 day, NUHANOVIC and Client-l's principal discussed

27   payment of $200,000 in exchange for the successful reinstatement of Client-l's account.
28
      Superseding Information - 23                                                     UNITED STATES AT"TORNEY
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 I For instance, Client-1's principal           stated to   NUFIANOVIC in      a WeChat message:           "Tell
 2   them, we    will   do 200k."
 a
 J                      c.      On or about December 18, 2018, Nilsen and NUHANOVIC
 4   discussed over WhatsApp the status of Client-1's reinstatement. For instance, Nilsen
 5   explained that one of his contacts had "tucked           it   [the pending plan of action] away" until
 6   they could "find the right person to reinstate" the account.
 7                      d.      On or about December 28,2018, Nilsen and representatives                   of
 8   Client-1 participated in       a   teleconference with members of Amazon's seller support team
 9   in Seattle, Washington, regarding Client- 1' s suspension.
10                      e.      On or about January 8,2019, Rosenberg contacted one or more
11   Amazonemployees regarding Client-1's suspension. For instance, in an email sent to an
t2 Amazon employee located in Seattle, Washington, Rosenberg included various
13   representations regarding Client-1 and a link to a video, which he created, of Client-1's
l4   representative, which contained false statements.
15                      f.      On or about larutary 9,2019, Nilsen informed a representative                   of
t6 Client-1 that Client-1's account would be reinstated, stating, among other things: "Please
t7 don't tell people this ... Your account manager or somebody hears that you knew that
18   you were getting reinstated and she could really screw you." Later that same day,
T9   Amazon reinstated Client-l's 3P account.
20                      g.      On or about January 9,2019, Client-1's agent sent Nilsen a WeChat
2l   message stating: "rather transfer not happening in usa," "better in Hongkong or                  India. U
22   know what I mean. Cash is too much very risky move too."
23                      h.      On or about January 9,2019, a bank account registered to Client-1
24   wired $55,000 to a bank account registered to NIIIIANOVIC. Later the same date, the
25   bank account registered to NUHANOVIC transferred $55,000 to a bank account
26   registered to Rosenberg' s company, Effy zaz.
27                      i.      On or about January 11,2019, Nilsen and NUFIANOVIC discussed
28   Client-1's reinstatement over WhatsApp, with Nilsen stating "That account was fucked
      Superseding Information - 24                                                  UNITED STATES ATTORNEY
                                                                                   7OOSTEWART STREET, SUITE 5220
      United States v. Nilsen, CR20- I 5 IRAJ                                       SEATTLE, WASITNGToN 98 1 O I
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  1    beyond fucked ... does he know how lucky he is that his Asian partner got in touch with
  2    some guy in atl who got in touch with some guy in ny who got in touch with some
  )    [redacted] out of Brooklyn who got in touch with somebody high up and paid them off to
  4    save his account."

  5                     j.       On or about January 12,2019, a Hong Kong bank account controlled
  6    by Client-l wired $145,000 to             a   Hong Kong bank account controlled by NTITIANOVIC's
  7    associate.

  8                     k.       On or about January 18,2019, a Hong Kong bank account controlled
  9    by NUHANOVIC's associate made two fund transfers, namely, (D S71,460 to a bank
10     account registered to NUTIANOVIC's company, Buddibox, and                 (ii) $71,460 to a bank
11     account registered to Nilsen's company, Digital Checkmate.
t2                      l.       On or about January 18,2019, a Remitly account registered to
13     Leccese transferred $2,900 to an India bank account registered to Kunju.
14             32.      Client-2: On multiple occasions, Defendant's Co-defendants collaborated
15     on reinstatements and other services for a 3P seller (Client-2), whose seller accounts had
t6 been suspended for various violations of Amazon policies. These reinstatements
17     involved, but were not limited to, the following representative acts:
18                      a.       On or about July 28, 2018, Client-2 sent a Facebook message to
t9 Nilsen regarding Amazon's suspension of a dietary-supplement product on Client-2's
20     primary 3P seller account for product compliance reasons.
2l                      b.       On or about July 29,2018, Kunju sent Nilsen a WhatsApp
22     messaging confirming that he would assist with reinstatement, stating           "I   am in bro. Let's

^/.)   make some money." Latet the same date, Kunju sent a command from his Amazon
24     workstation to Amazon's protected computer network, which resulted in the
25     reinstatement of Client-2's 3P account's suspended product listing.
26                      c.       On or about February 24,2019, Client-2 sent Nilsen a Facebook
27     message, stating "Another urgent situation @. My BEST SELLERjust went down."
28     Later the same date, Nilsen responded "reinstated bro," attaching a screenshot of a chat
        Superseding Information - 25                                              UNITED STATES ATTORNEY
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        United States v. Nilsen, CR20-1 5 IRAJ                                    SEA.I"ILE, WASIilNGToN 98 I 01
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 1   between Nilsen and an insider, which contained a photograph of a computer logged into
 2   Amazon's protected computer network.
 a
 J                      d.        On or about February 24,2019, Client-2sentNilsen aFacebook
 4   message, stating: "Wowow. That was a record. PayPal address please                 O      I would like
 5   to tip, please tell me appropriate amount. I think it's only right." Nilsen responded to
 6   Client-Z, stating: "I have to pay this guy $500."
 7                      e.        On or about February 24,2019, Cliern-2 sent $500 to Nilsen over the
 8   online payment service, PayPal.
 9            33.       Client-3: On multiple occasions, Defendant's Co-defendants collaborated
10   on reinstatements and other services related to a 3P seller ("Client-3"), who was referred
11   to Nilsen by Client-2. These services involved, but were not limited to, the following
I2 representative acts:
13                      a.        On or about March 10,2019, Client-2contactedNilsen over
t4 Facebook about assisting Client-3 with a product listing suspended by Amazon for
15   suspected fraud. Later that same date, Nilsen responded with internal information,
t6 obtained from an insider, about Client-3's 3P account and the suspension action from                       an

t1 insider, confirming that "soldiers" were assisting and further stating: "[s]trong blocked ...
18   sucks ... one of them said they need 5 minutes and they will be able to either reinstate it
I9 or let me know that it will take 2-3 days." Later the same         date, Nilsen sent Client-2 a

20   Facebook message containing photographs of Client-3's reinstated 3P account and
2t   account information from Amazon's internal systems, along with the note: "Done
22   bro. . .reinstated. . .bammmmm."
23                     b.        On or about March 11,2019, Client-3 sent Nilsen a Facebook
24   message expressing appreciation for the product listing reinstatement and discussing

25   future business together.
26                      c.       On or about May 22,2019, Client-3 sent Nilsen a message over
27   Facebook requesting assistance in the suspension of a product listing on his 3P account
28   because    of customer complaints, stating: "our top seller our collagen was removed from
      Superseding Information - 26                                           UNITED STATES ATTORNEY
      Unite d States v. Nilsen, CR20- 1 5 1 RAJ                              700   Srrwerr   SrREEr, SurrE 5220
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 1   our store, it's live under our second account so we didn't know what the hell was going
 2   on."
 J                    d.       On or about May 23,2019, Nilsen sent Client-3 a Facebook message
 4   about the suspension after consulting with an Arnazon insider addressing the need for
 5   payment. For instance, Nilsen stated: "what he is saying when he says 'it's risky' is 'This
 6   case is too reckless     for me to resolved [sic] without getting paid.' Just being straight up
 7   with you   -   my advice    -    offer him funds & have him resolve it."
 8                    e.       On or about May 23,2079, an insider sent a command from his
 9   Arnazotworkstation, resulting in the reinstatement of Client-3's suspended product
10   listing. Later the same date, Nilsen sent a Facebook           message to Client-3 requesting

11   payment of $1,000 for the reinstatement.
t2                    f.       On or about May 23,2019, Client-3 wired $1,000 to a bank account
13   registered to Nilsen's company, Digital Checkmate.
t4                    g.       On or about ili4ay 24,2019, Kunju sent multiple separate wire
15   transfers to the insider.
t6                    h.       On or about May 25,2019, Kunju sent Nilsen a WhatsApp message
T7   stating: "'Were u able to send those funds back? ... Soldier wanted funds so I gave to him.
18   He thought the last 2k was received." On the same date, a Remitly account registered to
t9 Leccese attempted to transfer $1,000 to an India bank account registered to Kunju.
20           34.      Client-4: On multiple occasions, Defendant's Co-defendants collaborated
2l   on reinstatements, attacks, and other services for a 3P seller account ("Client-4"). For
22   instance, in January 2019, they collaborated on a reinstatement of Client-4's product
23   listing, which Amazon had suspended based on product safety concerns. This
24   reinstatement involved, but was not limited to, the following representative acts:
25                    a.       On or about January     7   ,2019, Consultant-   1 sent   Nilsen a WhatsApp
26   message about assisting in the reinstatement of Client-4's product listing, a hair

27   straightener suspended for product safety issues, inquiring whether Nilsen had "someone
28   that can flip the switch" on the suspended product. Later the same date, Nilsen sent a
      Superseding Information - 27                                                 UNITED STATES ATTORNEY
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 1   WhatsApp message to Kunju asking him to oolook into" Client-4's product suspended for
 2   a   "[s]afety waming or some shit." Kunju responded affirmatively, stating: "Whatever it
 a
 J   is we   will   get it sorted."

 4                     b.       On or about January 14,2019, Kunju informed Nilsen over
 5   WhatsApp that an insider had reinstated the suspended product.
 6                     c.       On or about January 15,2019, Consultant-1, through his company's
 7   account, issued approximately 13 separate checks in varying amounts, totaling over
 8   $2,000, to Nilsen's company Digital Checkmate.
 9                     d.       On or about January 18,2019, and on January 26,2019, a Remitly
10   account registered to Leccese transferred $2,900 and $2,800, respectively, to an India
11   bank account registered to Kunju.
t2                     e.       On or about February 1,2019, and on or about February 2,2019,
t3 Kunju made multiple wire transfers to the insider.
t4                               Examples of Account Sabotage and Attacks
15             35.     Victim-L: At the request of their client, Client-1, members of the
16   conspiracy collaborated on multiple attacks on a competing 3P seller ("Victim-1") on the
t7   ArnazonMarketplace. For instance, in June 2018, Client-l offered to pay $35,000 in
18   cash to   "wipe out" Victim-1's 3P account. Through illicit conduct, members of the
t9 conspiracy induced Amazonto suspend Victim-l's seller account, thus depriving
20   Victim-l of revenue, for a period of approximately a week. This attack involved, but was
2t not limited to, the following representative acts:
22                     a.       On or about June 5, 2018, Client-1 asked NUHANOVIC to
23   coordinate an attack against Victim-1, a 3P seller that competed against Client-1 on the
24   Amazon Marketplace. NLIIIANOVIC later requested and obtained through an Amazon
25   insider confidential information about Victim-l misappropriated from Amazon's
26   protected computer network.
27                     b.       On or about June 11,2018, Nilsen, directly or indirectly, registered
28   the intemet domain name "globebrandlawgroup.com." The same date, Nilsen and Kunju
      Superseding Information - 28                                           UNITED STATES ATTORNEY
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 1   discussed in WhatsApp messages the coordinated plan to "wipe out"             Victim-l's 3P
 2   account.
 a
 J                       c.        On or about June 13,2018, Nilsen submitted a complaint to
 4   Amazon, in which he posed as a purported member of the "Globe Brand Law Group" and
 5   provided the email address BChambers(@globebrandlaw.group. In the complaint, Nilsen
 6   alleged that Victim-1 had infringed upon intellectual property rights licensed to "Globe
 7   Brand Law Group" by amultinational technology provider. Later that same date,
 8   Amazon suspended Victim-1's 3P account.
 9             36.       Victim-2: In December 2018, members of the conspiracy collaborated on
10   and executed an attack on a 3P seller ("Victim-2"), at the request of Consultant-1.
11   According to Consultant-L, Victim-2 was a client that had failed to pay for Consultant-1's
t2 services, and Consultant-l wanted to send Victim-2 and other clients a clear             message.

13   Nilsen defaced Victim-2's seller page with vulgar images, effectively incapacitating it on
t4 the Amazon Marketplace. This attack involved, but was not limited to, the following
15   representative acts:
t6                      a.         On or about December 27,2018, Consultant-l sent Nilsen a
t7 WhatsApp          message      with the Amazon merchant identification number for Victim-2, along
18   with the note o'hey got a client refusing to pay can you push masks up on the main images
t9 there?" The reference to "masks" alluded to prior defacement attacks involving images
20   of the Guy Fawkes mask.
2t                      b.        On or about December 30,2018, Nilsen and Kunju communicated
22   and collaborated over WhatsApp about the planned attack on Victim-2, including
23   regarding what replacement images to use.
24                      c.        On or about December 31,2018, Nilsen, directly or indirectly,
25   uploaded a"flat file" to Amazon's protected computer network, resulting in the
26   modification of Victim-2's product listing to replace the product images with lewd
27   images, including a smiley face with a raised middle finger, displayed above.
28
      Superseding Information - 29                                            LINITED STATES ATTORNEY
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 1                      d.       On or about December 31,2018, Nilsen sent Consultant-1 a
 2   WhatsApp message, stating: "W.ho's got your back? xNO PAY                 -NO PLAY* I left him
 a
 J   one   ASIN    as a nice F     U," along with s screenshot of Victim-2's defaced product listing.
 4   Consultant-l responded, "damn this guy is freaking out. I keep on telling him there is
 5   nothing i can do this is the collection agency."
 6                      e.       On or about December 3I,2018, Nilsen sent Kunju a WhatsApp
 7   message requesting that an Arnazon insider restore           Victim-2's account to its original
 8   form, which Kunju agreed to accomplish once the "soldier" was available.
 9            37.       Victim-3: At the request of Client-4, members of the conspiracy
10   collaborated on one or more attacks on a competing 3P seller ("Victim-3") on {he
11   AmazonMarketplace. For instance, from in or about December 2018 through at least
t2 February 2019, the Defendants employed a variety of techniques, including use of
13   intemal Amazon information, to successfully obtain the suspension of multiple product
t4 listings and in an effort to takedown Victim-3's account entirely. Consultant-1, on behalf
i5 of Client-4,      and Nilsen arranged the attack on       Victim-3. The attack involved, but was not
t6 limited to, the following representative acts:
l7                     a.        On or about December 19,2018, an Arnazon insider emailed Kunju
18   and Nilsen internal information regarding            Victim-3's account obtained from Amazon's
t9 protected computer network. Later the same               date, Nilsen sent the information regarding

20   VICTIM-3 received from the Amazon insider to Consultant-l over WhatsApp.
2l                     b.        On or about December 26,2018, a bank account registered to
22   Consultant-1's company wired $25,000 to a bank account registered to Nilsen's Digital
Z3   Checkmate bank account.
24                     c.        On or about January 31,2019, Nilsen, Leccese, and Kunju joined a
25   WhatsApp group chat named "Takedown," which they used to discuss Victim -3 and the
26   ongoing efforts to attack this 3P account. Among other things, they discussed using sham
27   buyer accounts, registered in others' names or aliases, to purchase goods from Victim-3
28   and submit negative customer feedback and fraudulent complaints. The participants
      Superseding Information - 30                                               LTNITED STATES ATTORNEY
      United State s v. Nilsen, CR20-   1   5   1   RAJ                         700 SrEwARr SrREEr, SurrE 5220
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 1   agreed to initially target particular product listings and considered wording of negative
 2   reviews that would trigger a product suspension.
 J                     d.        On or about February 12,2019, after Arnazon had suspended one or
 4   more product listings on Victim-3's 3P account based on reports of fraud, Nilsen and
 5   Consultant-1 exchanged WhatsApp messages regarding this suspension and the ongoing
 6   attack on Victim-3.
 7                     e.        On or about February 16,2019, in a WeChat chat, Nilsen solicited
 8   further assistance of another consultant, located outside the United States, with whom the
 9   Defendants often collaborated ("Consultant-2"), who agreed to assist in the ongoing
10   attack on Victim-3 in exchange for S5,000. Nilsen later confirmed the $5,000 fund
11   transfer, attaching a screenshot of the wire receipt.
I2                     f.        On or about February 21,2019, Nilsen and Consultant-1 discussed
t3   additional product suspensions recently imposed on Victim-3 account.
t4           All in violation of Title           18, United States Code, Section 371.

15                                                        COUNT 2
                                                 (Filing a False Tax Return)
t6
              On or about }i4ay 20,2019, the defendant FIADIS NTIIIANOVIC did willfully
t7
     make and subscribe a Form 1120S, U.S. Income Tax Return for an S Corporation, for the
18
     defendant's company BuddiBox LLC, which was verified by a written declaration that it
t9
     was made under the penalties of perjury and which he did not believe to be true and
20
     correct as to every material matter. That document, which IIADIS NUHANOVIC signed
2l
     and filed with the Internal Revenue Service, stated gross receipts (Form 1120s, Line 1)
22
     for BuddiBox LLC of $826,510.00, although HADIS NIITIANOVIC knew that
Z3
     BuddiBox LLC had gross receipts of at least approximately $1,446,560.46, an amount
24
     that should have flowed through to the Defendant's personal return Form 1040 U.S.
25
     Individual Income Tax Retum.
26
             All in violation of Title 26,United           States Code, Section   7206(l).
2l
28
      Superseding Information - 31                                                  UNITED STATES ATTORNEY
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      United State s v. Nilsen, CR20- I 5 IRAJ
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 1                                       FORFEITURE ALLEGATION
 2           38.      All of the allegations contained in this Superseding Information           are hereby
 a
 J   realleged and incorporated by reference for the purpose of alleging forfeiture.
 4           39.      Upon conviction of the offense charged in Count l, HADIS NUHANOVIC
 5   shall forfeit to the United States any property constituting, or derived from, proceeds
 6   Defendant obtained directly or directly, as a result of the offense.       All    such properly is

 7   forfeitable pursuant to pursuant to Title 18, United States Code, Section 981(a)(l)(C), by
 8   way of Title 28, United States Code, Section 2461(c), and includes but is not limited to a
 9   sum of money in the amount of $100,000 reflecting the proceeds Defendant obtained
10   from the offense.
11           40.      Substitute Assets. If any of the above-described forfeitable properfy, as a
T2   result of any act or omission of the defendant,
13
                      a.       cannot be located upon the exercise of due diligence;
t4
                      b.       has been transferred or sold to, or deposited   with,   a   third party;
15
                      c.       has been placed beyond the   jurisdiction of the Court;
r6
                      d.       has been substantially diminished in value; or,
17

18
                      e.       has been commingled    with other properfy which cannot be divided
                               without difficulty,
t9
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 I   it is the intent of the United                 States to seek the forfeiture   of any other property of the
 2   defendant, up to the value of the above-described forfeitable properfy, pursuant to
 J   Title 21, United States Code, Section 853(p).
 4

 5           DATED this        f           day of Septemb er,2022.
 6

 7

 8
                                                                                    S W. BROWN
 9
                                                                         United States Attomey
10

11

t2
13                                                                       Assistant United States Attorney
t4
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                                                                         NICHOLAS MANHEIM
t6                                                                       Assistant United States Attorney
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